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                            EXHIBIT A

                     Curriculum Vitae

                  Dr. S. Deborah Kang
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                               S. DEBORAH KANG
                                       Associate Professor
                       Corcoran Department of History • Democracy Initiative
                                      University of Virginia

EDUCATION

University of California at Berkeley
       Ph.D., United States History, 2005
       Fields: United States History, Late Modern European History, Law and Social Theory
       Dissertation: “The Legal Construction of the Borderlands: The INS, Immigration Law, and
       Immigrant Rights on the U.S.-Mexico Border, 1917-1954” (Professor Jon Gjerde, Chair)

University of California at Berkeley
       M.A., Jurisprudence and Social Policy, 1997
       Fields: American Legal History, Asian American History, Law and Social Theory

Cornell University
        B.A., magna cum laude, College Scholar, European Literature and History, 1992
        Thesis: “The Representation of the Doctor in the Work of Balzac, Flaubert, and Zola”


ACADEMIC APPOINTMENTS AND AFFILIATIONS

Corcoran Department of History and the Democracy Initiative, University of Virginia
       Associate Professor, August 2021-Present

Office of the Federal Public Defender, Western District of Texas
        Immigration Policy Consultant, March 2021-March 2022

Department of History, University of Texas at Dallas
       Anne Stark and Chester Watson Associate Professor of History, 2020-Present

Center for US-Latin American Initiatives, University of Texas at Dallas
        Faculty Affiliate, 2020-Present

US Immigration Policy Center, University of California at San Diego
      Immigration Policy Fellow, 2019-Present

Department of History, California State University San Marcos
       Associate Professor, 2017-2020

Center for Comparative Immigration Studies, University of California at San Diego
        Visiting Scholar, 2015-2020

Department of History, California State University San Marcos
       Assistant Professor, 2011-2017




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Department of History, University of California at Berkeley
       Postdoctoral Scholar, 2009-2011

Department of History, Harvard University
       Lecturer on History, 2008-2009

Department of History, University of California at Berkeley
       Lecturer, 2007-2008

The William P. Clements Center for Southwest Studies, Southern Methodist University
       Research Fellow, 2006-2007

Department of History, Cornell in Washington, Cornell University
       Adjunct Assistant Professor, 2006


AWARDS

Theodore Saloutos Book Award, 2018
      Immigration and Ethnic History Society

Henry Adams Prize, 2018
       Society for History in the Federal Government

Berkshire Conference of Women Historians Book Prize, 2017
        Berkshire Conference of Women Historians

W. Turrentine-Jackson Book Prize, 2018
       Western History Association

Ameríco Paredes Book Award for Nonfiction, 2018
       Center for Mexican American Studies, South Texas College

Finalist, David J. Weber and Bill Clements Prize, 2018
         Western History Association

Nominee, Joseph R. Levenson Memorial Teaching Prize, 2009
      Undergraduate Council, Harvard University

Harvard University Certificate of Distinction in Teaching, 2009
       Derek Bok Center for Teaching and Learning, Harvard University

Harvard University Certificate of Distinction in Teaching, 2008
      Derek Bok Center for Teaching and Learning, Harvard University

American Jurisprudence Award in Jurisprudence, 1995
       Berkeley Law, University of California at Berkeley

Phi Beta Kappa, Cornell University, 1992




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GRANTS AND FELLOWSHIPS

Summer Stipend Award, 2019
      National Endowment for the Humanities

Grant Proposal Seed Money, Summer 2018
       Office of Graduate Studies and Research, California State University San Marcos

CSUSM Affordable Learning Materials Grant, 2017-2018
     California State University San Marcos

Proven Course Redesign Grant, 2015-2016
       Chancellor's Office, California State University
       - Awarded $10,148 to implement redesign of the Modern United States history survey course.

Participant, Building and Strengthening Digital Humanities through a Regional Network, 2015-2016
        National Endowment for the Humanities Start-Up Grant Project

University Professional Development Grant, 2014-2015
       California State University San Marcos

Faculty Center Professional Development Grant, 2013-2014, 2017-2020
        California State University San Marcos

College of Humanities, Arts, Behavioral, & Social Sciences Faculty Development Grant, 2013-2014, 2017-2020
        California State University San Marcos

Innovations in Teaching Faculty Learning Community Grant, 2012-2013
       California State University San Marcos

Faculty Center Connections Grant, 2011-2013
        California State University San Marcos

Andrew W. Mellon Foundation Fellow, June 2012
      The Huntington Library, San Marino California

Institute on Global Conflict and Cooperation Dissertation Fellowship, 2002-2003
         University of California at San Diego

Eugene Irving McCormac Graduate Scholarship, 2001-2003
       University of California at Berkeley

Mentored Research Award, 1995-1996
       University of California at Berkeley

Graduate Opportunity Fellowship, 1993-1995
       University of California at Berkeley

National Endowment for the Humanities Younger Scholars Summer Research Grant, 1991
       Cornell University



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PUBLICATIONS

BOOKS AND EDITED VOLUMES

S. Deborah Kang, The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954 (New York:
       Oxford University Press, 2017).

Jon Gjerde, Catholicism and the Shaping of Nineteenth Century America, edited with a Preface and Epilogue by S.
       Deborah Kang (New York: Cambridge University Press, 2012).

ARTICLES AND BOOK CHAPTERS

Tom K. Wong, Ph.D., S. Deborah Kang, Ph.D., Carolina Valdivia, M.A., Josefina Espino, Michelle
      Gonzalez, Elia Peralta, “How Interior Immigration Enforcement Erodes Trust in Law
      Enforcement,” Perspectives on Politics, vol. 17, n. 4 (2019), 1-14.

S. Deborah Kang, “Implementation: How the Borderlands Redefined Federal Immigration Law and Policy,
       1917-1924,” California Legal History: Journal of the California Supreme Court Historical Society, vol. 7 (2012).

S. Deborah Kang, “Jon Gjerde’s Immigrant America,” in Norwegian American Essays 2010, edited by Øyvind
       Gulliksen (Oslo: Novus Forlag, 2011).

S. Deborah Kang, “Crossing the Line: The INS and the Federal Regulation of the Mexican Border,” in Bridging
       National Borders in North America, edited by Andrew Graybill and Benjamin Heber Johnson (Durham,
       N.C.: Duke University Press, 2010).

BOOK REVIEWS

S. Deborah Kang, review of Porous Borders: Multiracial Migrations and the Law in the US-Mexico Borderlands, by
       Julian Lim, Journal of Social History (August 14, 2018).

S. Deborah Kang, review of The Refugee Challenge in Post-Cold War America, by María Cristina García, American
       Historical Review, vol. 123, n. 3 (2018): 983-84.

S. Deborah Kang, review of Deportation: The Origins of U.S. Policy, by Torrie Hester, Western Historical Quarterly,
       vol. 49, n. 1 (2018): 102-103.

S. Deborah Kang, review of Border Dilemmas: Racial and National Uncertainties in New Mexico, 1848-1912, by
       Anthony P. Mora, Social History, vol. 37, n. 2 (2012): 228-230.

S. Deborah Kang, review of Migra! A History of the U.S. Border Patrol, by Kelly Lytle Hernández,
       Western Historical Quarterly, vol. 42, n. 2 (2011): 248.

POLICY BRIEFS

Krista Kshatriya, J.D. and S. Deborah Kang, Ph.D., “Walls to Protection: The Grim Reality of Trump’s
        ‘Remain in Mexico’ Policy,” Policy Brief (La Jolla: U.S. Immigration Policy Center, 2019).

Tom K. Wong, Ph.D., S. Deborah Kang, Ph.D., Carolina Valdivia, M.A., Josefina Espino, Michelle
      Gonzalez, Elia Peralta, “How Interior Immigration Enforcement Erodes Trust in Law
      Enforcement,” Working Paper No. 2 (La Jolla: U.S. Immigration Policy Center, 2019).



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AFFIDAVITS/DECLARATIONS

Affidavit of Dr. S. Deborah Kang, Associate Professor, University of Virginia, United States of America v.
          Cadena-Salinas, Case No. 5:19-cr-00850-XR (W.D. Tex. September 21, 2021) (Sixty-five page report
          on the racial animus underlying the law criminalizing undocumented re-entry.)

Affidavit of Dr. S. Deborah Kang, Anne Stark and Chester Watson Associate Professor of History, University of
          Texas at Dallas, United States of America v. Juan Rendon Rodriguez, Case No. 5:20-cr-00526-XR (W.D.
          Tex. April 26, 2021) (Forty-six page report on the racial animus underlying the legislative history of 8
          U.S.C. §1326 [the law criminalizing undocumented re-entry].)

ESSAYS

S. Deborah Kang, “Border Fiction Made Real: How Search and Seizure Laws Degrade on the 100-Mile Border
       Zone,” KCET Artbound, November 12, 2019.

S. Deborah Kang, “The History of Citizenship Day is a Reminder That Being an American Has Always
       Been Complicated,” Time Magazine, September 17, 2019.

Carly Goodman, S. Deborah Kang, and Yael Schacher, “How advocates can defeat Trump’s latest
       assault on asylum seekers,” Washington Post, July 18, 2019.

S. Deborah Kang, “Annual Meeting Preview: The Academic #MeToo Movement: Scholars, Advocates,
       and Solutions to the Problems of Sexual Assault and Sexual Harassment in the Academy, ”OAH
       Insights, Organization of American Historians, January 7, 2019.

S. Deborah Kang, “The US Begins Mass Deportation of Mexican Migrants,” “7 Moments that Changed America”
       Time Magazine (print), July 9, 2018.

S. Deborah Kang, “The US Begins Mass Deportation of Mexican Migrants,” “25 Moments in American History that
       Matter Right Now, ”Time Magazine (online), June 28, 2018.

S. Deborah Kang “The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” IEHS
       Blog, IEHS Online: The Website of the Immigration and Ethnic History Society, February 18, 2017.


WORK IN PROGRESS

S. Deborah Kang, Pathways to Citizenship: A History of Immigration Legalization in the United States, 1906-1986. (in
       preparation)

Danielle Battisti and S. Deborah Kang, eds., Undocumented European Immigration to the United States from the Nineteenth
        Century to the Present (working title). (in negotiations with the University of Illinois Press.)

“Sovereign Mercy: The Legalization of the White Russian Refugees and the Development of American Immigration
        and Refugee Law during the Great Depression.” (in preparation)

“The Legal Innovations of the Immigration and Naturalization Service in the U.S.-Mexico Borderlands, 1917-
       1946,” in Migration and Borders in North America: Views from the Twentieth Century, edited by Graciela Martínez-
       Zalce and Mónica Verea (forthcoming, University of Texas Press).




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ACADEMIC CONFERENCES AND PRESENTATIONS

“Redefining the Immigrant South: Indian and Pakistani Immigration to Houston during the Cold War,”
       Invited Commentator for Book Panel of Dr. Uzma Quraishi, Sam Houston State University, April 26,
       2021.

“Between a Hot and a Cold War: The Legalization of the White Russian Refugees and the Development of
       American Refugee Law and Policy,” Panelist and Panel Organizer, “Centering War in the Study of
       Immigration History,” Annual Meeting, Organization of American Historians, Chicago, Illinois, April
       15-18, 2021

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Presentation,
       Graduate Seminar led by Dr. Kimberly Gauderman, History Department, University of New Mexico,
       February 11, 2021.

“Reconstructing the Academic Workplace: A Conversation about the Work of the Committee on Assault
       Response and Educational Strategies of the Western History Association (WHA CARES)” Invited
       Presentation, History Department, Columbia University, January 27, 2021.

“Constructing the Story of the Present: An Assignment for Teaching Immigration at the US-Mexico Border,”
       Invited Presentation, American Historical Association, Conference on Latin American History,
       January 7, 2021.

“Episode 13: The 1920s,” The Past, the Promise, the Presidency: Race and the American Legacy, Center for
       Presidential History Podcast, Southern Methodist University, December 17, 2020.

“Reconstructing the Academic Workplace: A Conversation about the Work of the Committee on Assault
       Response and Educational Strategies of the Western History Association (WHA CARES),” Invited
       Presentation, Graduate Seminar led by Dr. Gautham Rao, History Department, American University,
       November 10, 2020.

“Unpredictable Spaces?: Teaching Borderlands and Immigration History in the Trump Era – A Roundtable
      Session,” Invited Chair, Annual Meeting, Western History Association, Virtual Conference, October
      16, 2020.

“Crossing Borders and Boundaries,” Invited Plenary Speaker, Western History Association, Virtual
       Conference, October 15, 2020.

“WHA Spark Session: Saying ‘No,’” Panel Organizer and Co-Chair, Annual Meeting, Western History
     Association,” Virtual Conference, October 14, 2020.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Presentation,
       The Pandemic Book Club, May 15, 2020.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Presentation,
       Cross-Border Mobility and Confinement in the Americas: An Inter-UC-CSU Migration Studies
       Workshop, University of California at Santa Cruz, April 30, 2020. (Postponed due to COVID-19)




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“Reconstructing the Academic Workplace: A Conversation about the Work of the Committee on Assault
       Response and Educational Strategies of the Western History Association (WHA CARES)” Invited
       Presentation, Midwest Political Science Association, Committee on the Status of Gender and Sexual
       Minorities in the Discipline, April 17, 2020. (Canceled due to COVID-19)

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Presentation,
       Center for the Study of Representative Institutions, Macmillan Center, Yale University, April 6, 2020.
       (Rescheduled for October 23, 2020 due to COVID-19)

“Reconstructing the Academic Workplace: A Conversation about the Work of the Committee on Assault
       Response and Educational Strategies of the Western History Association (WHA CARES)” Invited
       Presentation, History Department, Yale University, April 6, 2020. (Canceled due to COVID-19)

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Presentation,
       History Department, Columbia University, March 23, 2020. (Postponed due to COVID-19)

“Reconstructing the Academic Workplace: A Conversation about the Work of the Committee on Assault
       Response and Educational Strategies of the Western History Association (WHA CARES)” Invited
       Presentation, History Department, Columbia University, March 23, 2020. (Rescheduled for January 27,
       2021 due to COVID-19)

“Sovereign Mercy: The Legalization of the White Russian Refugees and the Development of American
       Immigration and Refugee Law during the Great Depression,” Invited Keynote Lecture, “The
       Anatomy of Crisis: Meeting the Current Moment through Entangled Histories,” The 2020 Paul Lucas
       Conference in History at Indiana University, Indiana University Graduate Student Association,
       Indiana University Bloomington, March 6, 2020.

“Legalizing the Impossible Subject: The White Russian Refugees and the Development of American
        Immigration and Refugee Law during the Great Depression,” Invited Presentation, Center for
        Comparative Immigration Studies, University of California at San Diego, February 24, 2020.

Op-Ed Workshop, Co-organizer, San Diego Scholars Strategy Network, January 17, 2020. (Half-day training
      for San Diego scholars and advocacy organizations, including the San Diego ACLU, International
      Rescue Committee, and Alliance San Diego, among others.)

“Shifting the Boundaries of Inclusion: Immigrant Rights in the 20th Century United States,” Invited Chair and
        Commentator, Annual Meeting, American Historical Association, New York, New York, January 4,
        2020.

“Pathways to Citizenship: Undocumented European Immigrants in the United States, 1906-1986,” Invited
       Panelist, “The Other Illegals: Unauthorized European Immigration to the U.S. in the 20th Century,”
       Annual Meeting, American Historical Association, New York, New York, January 3, 2020.

“State Policies and Migrant Knowledge,” Invited Presentation, “Archives of Migration, Annual Academic and
        Policy Symposium “Innovation through Migration,” Pacific Regional Office, German Historical
        Institute, University of California at Berkeley, December 9, 2019.

“Legalizing the Impossible Subject: The White Russian Refugees and the Development of American
        Immigration and Refugee Law during the Great Depression,” Invited Presentation, UCLA Center for




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        the Study of Migration, Los Angeles, California, November 8, 2019.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Presentation,
       North American Colloquium, Gerald R. Ford School of Public Policy, University of Michigan,
       National Autonomous University of Mexico, and the University of Toronto, Mexico City, November
       6-7, 2019.

“Thinking in Time: Immigration History and Public Policy in the Trump Era,” Invited Panelist, “Immigrant
       Advocacy as a Matter of Law and History,” Annual Meeting, Western History Association, Las Vegas,
       Nevada, October 15-19, 2019.

“The New Challenges at the U.S.-Mexico Border,” Invited Commentator for presentation delivered by
      Professor Douglas Massey, Princeton University, Center for U.S.-Mexican Studies, University of
      California at San Diego, September 26, 2019.

“Walls and Borders: A History of Deterrence in American Immigration Law Enforcement,” Invited Panelist,
        “Debates about Immigration: American and European Experiences in a Comparative Perspective,” An
        International Symposium Organized by Center Austria: The Austrian Marshall Plan Center for European
        Studies and the Institute for Contemporary History, Innsbruck University in Celebration of the University
        of Innsbruck’s 350th Anniversary, The University of New Orleans, New Orleans, Louisiana, May 23, 2019.

“Walls to Protection: Remain in Mexico and US Asylum Policy under Trump,” Invited Panelist, Annual
        Meeting, Western Political Science Association Preconference, San Diego, California, April 17, 2019.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-19754,” Invited
       Presentation, Center for Mexican American Studies, South Texas College, McAllen, Texas, April 11,
       2019.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited
       Presentation, American Political History Seminar, Institute for Governmental Studies,
       University of California at Berkeley, March 15, 2019.

“Pathways to Citizenship: Undocumented European Immigrants in the United States, 1906-1986,” Newberry
       Seminar in Borderlands and Latino/a Studies, The Newberry Library, March 8, 2019.

“Immigration Law In, Through, and Beyond Moments of Distress,” Invited Panelist, Biennial Immigration
      Law Professors Workshop, Drexel University Law School, May 24-26, 2018.

“Immigration Law and Policy and the Making of the American State on the US-Mexico Border,” Invited
      Panelist, Institute for Historical Studies, University of Texas, Austin, April 27-28, 2018.

“Making Law on the Border: The INS and Immigration Law and Policy in Modern America,” Invited Panelist,
       “Immigration Detention and Removal: Historical Practices and Contemporary Legacies,” Annual
       Meeting, Law and Society Association, Mexico City, Mexico, June 20-23, 2017.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited book talk,
       Center for Comparative Immigration Studies, University of California at San Diego, March 13, 2017.

“Digital History in the American Institutions Survey Course,” Panelist, San Diego Digital History Initiative:
        Learning through Digital Humanities, University of San Diego, October 21, 2016.



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“Native Americans, Mexican Nationals, and the Shaping of a State Employment Agency in Arizona, 1942
       1970,” Presentation, International Migration Workshop, Center for Comparative Immigration Studies,
       University of California, San Diego, May 19, 2016.

"The Politics of Immigration Policy in the Twentieth Century," Invited Panel Chair and Commentator, Policy
       History Conference, Columbus, Ohio, June 7, 2014.

"Roundtable: New Directions in Borderlands History," Panel Chair, Annual Meeting, Organization of
      American Historians, Atlanta, Georgia, April 10-13, 2014.

"California and the West Coast," Panel Chair, Phi Alpha Theta Southern California Regional Conference,
        California State University San Marcos, April 20, 2013.

“Moving Forward and Looking Back: A Student’s Perspective on the Legacies of Jon Gjerde,” Invited
      Panelist, “Remembering Immigration Historian Jon Gjerde,” Panel sponsored by the Immigration and
      Ethnic History Society, Annual Meeting, Organization of American Historians, San Francisco,
      California, April 11-14, 2013.

“Implementation: How the Borderlands Redefined Federal Immigration Law and Policy, 1917-1924,” Invited
       Panelist, “The Golden Laboratory: Legal Innovation in Twentieth Century California,” Panel
       sponsored by the California Supreme Court Historical Society, Annual Meeting, American Society for
       Legal History, St Louis, Missouri, November 8-11, 2012.

“Making the Bracero Program Local: Migratory Labor and Anti-Statism in Arizona, 1942-1964,” Panel
       Organizer and Participant, Annual Meeting, Pacific Coast Branch of the American Historical
       Association, San Diego, California, August 11, 2012.

“A Genealogy of Anti-Statism in Borderlands History,” Invited Panelist, State of the Field Panel: Borderlands
      History, Annual Meeting, Organization of American Historians, Milwaukee, Wisconsin, April 19-22,
      2012.

“The Domestic and International Origins of the Bracero Program: Tracing the Intersections between
      Immigration and International History in the Classroom,” Invited Presentation, Internationalizing the
      United States History Survey Symposium, Department of History, Kent State University, Kent, Ohio,
      February 11, 2011.

“At the Border and Beyond: The Immigration Border Patrol and Federal Immigration Enforcement Policy,
        1917 – 1954,” Panelist, Annual Meeting, Organization of American Historians, Washington, D.C.,
        April 10, 2010.

“Inventing the Border: The Border Patrol and the Border Exception to the Fourth Amendment,” Invited
        Presentation, Hubert Howe Bancroft and Current Studies on California, Mexico, and the American
        West, The Bancroft Library 150th Anniversary Symposium, Berkeley, California, March 5, 2010.

“Immigrant Rights Awareness Week,” Invited Panelist, Harvard College Act on a Dream Club, Harvard
      University, Cambridge, Massachusetts, April 29, 2009.

“Immigration History for the Millennial Generation,” Invited Presentation, 2008 Summer Institute: Teaching
      American History for All, University of California at Berkeley History-Social Science Project, Berkeley,
      California, August 6, 2008.



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“Crossing the Line: The INS and the Federal Regulation of the Mexican Border – Law and Demography,”
       Invited Presentation, Bridging National Borders in North America, William P. Clements Center for
       Southwest Studies 2007 Annual Public Symposium Part II, Southern Methodist University, Dallas,
       Texas, March 24, 2007.

“Peripheries and Center: Immigration Law and Policy on the U.S.-Mexico Border,” Invited Presentation,
       William P. Clements Center for Southwest Studies, Southern Methodist University, Dallas, Texas,
       February 14, 2007.

“Undocumented and Illegal Immigration in the Contemporary World,” Panel Chair and Discussant, Annual
      Meeting, Social Science History Association, Minneapolis, Minnesota, November 2-5, 2006.

“Crossing the Line: The INS and the Federal Regulation of the Mexican Border – Law and
       Society,” Invited Presentation, Bridging National Borders in North America, William P.
       Clements Center for Southwest Studies 2007 Annual Public Symposium Part I, Simon Fraser
       University, Vancouver, Canada, September 15-16, 2006.


CAMPUS PRESENTATIONS

“CUSLAI Conversations,” Invited Presentation, Center for US-Latin American Initiatives, University of
     Texas at Dallas, November 20, 2020.

“Could We Ever?” Invited Guest, The CometCast Network Podcast Series, University of Texas at Dallas,
       November 12, 2020.

“Arts and Humanities Teach-In Series: Border Policing and ICE,” Invited Presentation, School of Arts
        and Humanities, University of Texas at Dallas, October 30, 2020.

“Throwing Away the Etiquette Book: Practical Tips for Women in the Academic Workplace,” Tukwut
      Talk, Cross-Cultural Center, California State University San Marcos, November 7, 2018.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Presentation,
       Latin@ Center, California State University San Marcos, October 23, 2018.

“Making Law on the Border: The INS and Immigration Law and Policy in Modern America,” Faculty Center,
       Immigration and Diaspora Studies Symposium, California State University San Marcos, February 8,
       2018.

“Immigration and the Wall,” Invited Faculty Facilitator, Civility Dialogues, Cross-Cultural Center, California
      State University San Marcos, February 6, 2018.

“The Battle for the Border: The INS and the Shaping of American Immigration Policy,” Invited Presentation,
       History Department Reading Group, California State University San Marcos, April 6, 2017.


PUBLIC LECTURES

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Presentation,
       Dallas Bar Association, February 19, 2021.



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“US Immigration and Border Policy in the Trump Era,” Invited Presentation, “US Migration Policy: A Joint
      Project for EUR and NEA Regions,” International Visitor Leadership Program, U.S. Department of
      State, San Diego, California, March 17, 2020. (Canceled due to COVID-19)

“US Immigration and Border Policy in the Trump Era,” Invited Presentation, Hillcrest Indivisible, San Diego,
      California, September 19, 2019.

“From Undocumented to DACA: A Short History of Undocumented Immigration in America, 1965-1917,”
      Migration and Borders in the Twenty-First Century, United States Naval Staff College, United States
      War College, February 15, 2019.

“DACA and Immigrant Rights,” Invited speaker, Women’s March of North San Diego County, January 20,
     2018.

“Center and Periphery: A History of Federal Immigration Law and Policy in the US-Mexico Borderlands,”
       Invited Presentation, United We Dream, Washington, DC, October 7, 2017.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Presentation,
       Francis Parker School, Western History Association, Take a Historian to School Day, San Diego,
       California, October 12, 2017.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Presentation,
       Covington and Burling, LLP, San Francisco, California, August 14, 2017.

“The Practice of Immigration Law on the US-Mexico Border, 1917-1954,” Invited Panelist, “No Borders and
       Walls: A Scholar, Activist, and Artist Symposium,” Centro Cultural de la Raza, Balboa Park, San
       Diego, California, May 27, 2017.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Annual Alumni
       Reception, Department of History, California State University San Marcos, March 2, 2017.

“Westering Women: Gender, Immigration, and Race in the American West, 1850 to the Present.” Invited
       Speaker, “California Dreaming: The Story of Migration and Immigration to the Golden State, Pre-
       History to the Present,” Anza-Borrego Desert Natural History Association, Borrego Springs,
       California, January 28, 2017.

“The INS on the Line: Making Immigration Law on the US-Mexico Border, 1917-1954,” Invited Speaker,
       “California Dreaming: The Story of Migration and Immigration to the Golden State, Pre-History to
       the Present,” Anza-Borrego Desert Natural History Association, Borrego Springs, California, January
       27, 2017.

“The Migration and Immigration History of California.” Invited Speaker, “California Dreaming: The Story of
      Migration and Immigration to the Golden State, Pre-History to the Present,” Anza-Borrego Desert
      Natural History Association, Borrego Springs, California, January 30, 2016.




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FORTHCOMING PRESENTATIONS

“50 Years of Title IX: Evolutions in the Struggle Against Sex Discrimination in Education,” Panel Chair,
       Annual Meeting, American Historical Association, New Orleans, Louisiana, January 6-9, 2022.

“Borderland Locales: A Global Perspective,” Invited Panelist, Annual Meeting, American Historical
       Association, New Orleans, Louisiana, January 6-9, 2022.

Title TBD, Invited Panelist, Regulation and Administration in American Life: Legal Historical Perspectives,
        Pre-conference, Annual Meeting, American Society for Legal History, New Orleans, Louisiana,
        November 4-6, 2021.

“Law on the U.S.-Mexico Borderland: Critical Approaches in Legal History,” Invited Commentator, Annual
       Meeting, American Society for Legal History, New Orleans, Louisiana, November 4-6, 2021.

“Policing and the Penitentiary in the Borderlands,” Invited Commentator, Annual Meeting, Western History
        Association, October 2021.


MEDIA APPEARANCES

“Surge in Migrants at Southern Border”
        Wisconsin Public Radio, May 14, 2021

“Migrants Crossing Arizona/Mexico Border”
       CBS11 (Dallas), April 2, 2021

Comment on seasonal increases in undocumented migration and unaccompanied minors
     NBCLX, April 1, 2021

“Big immigration changes planned in U.S.”
       KRLD News (Dallas), January 22, 2021

“’Dreamer’ shares hopes, fears as Biden administration drafts legislation to protect DACA recipients”
       WFAA ABC 8 (Dallas), January 22, 2021

“The Trump administration has used the coronavirus threat to swiftly kick more than 200,000 immigrants out
       of the U.S.”
       Dallas Morning News, October 17, 2020

“CBP Drones Conducted Flyovers Near Homes of Indigenous Pipeline Activists, Flight Records Show”
      Gizmodo, September 18, 2020

“Immigration Historian Says Border Patrol’s Role In Protest Law Enforcement Is Troubling”
       Texas Standard, June 12, 2020

“The INS on the Line: Making Immigration Law on the U.S.-Mexico Border, 1917-1954”
       New Books Network, History, November 11, 2019




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“ICE Raids Begin in Select Cities”
       Wisconsin Public Radio, July 16, 2019

Border Apprehensions: Looking to the past to understand the current spike in illegal crossings”
       San Diego Union Tribune, June 23, 2019

Comment on Trump administration’s policy on deportation of Vietnamese refugees.
     BBC Newsday, December 14, 2018

“The US Begins Mass Deportation of Mexican Migrants,” “7 Moments that Changed America”
       Time Magazine (print), July 9, 2018

“What’s Driving the Movement to Abolish ICE?”
        PBS Newshour (online), July 6, 2018

“’Abolish ICE’ Movement is Growing. Is the Agency’s Disbanding Likely?”
        Politifact, July 3, 2018

“What Do You Want to Know about ICE?” 1A: Speak Freely
       WAMU, National Public Radio, Washington, DC, July 3, 2018

“Immigration Nation,” Code Switch: Race and Identity Remixed
       National Public Radio, June 27, 2018

Segment on Immigration and Customs Enforcement, Steele and Ungar
       Sirius XM Radio, June 25, 2018

“15 Years After Its Creation Critics Want to Abolish ICE,” Here and Now
       WBUR, National Public Radio, Boston, June 25, 2018

“The Wall,” (Documentary film series on border walls around the world)
      Rondo Media, S4C (Wales, United Kingdom), and Jeonju Television (South Korea), in production.

“California to Join Guard Border Mission, but with Conditions,” KPBS Midday Edition
        KPBS, San Diego Public Radio, San Diego, California, April 12, 2018

“Border Security,” KPBS Evening Edition
       KPBS, San Diego Public Television, San Diego, California, April 11, 2018

“Trump’s Mexico Border Wall,” Take Two
        National Public Radio, Los Angeles/KPCC Affiliate, Pasadena, California, January 26, 2017.
“Bridging National Borders in North America,” Think with Kris Boyd
        National Public Radio, KERA-Dallas Affiliate, Dallas, Texas, March 22, 2007.




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FACULTY TEACHING EXPERIENCE

UNIVERSITY OF TEXAS AT DALLAS

History 4369: Topics in Borderlands History
History 6390: Topics in Borderlands History

CALIFORNIA STATE UNIVERSITY SAN MARCOS

History 131: U.S. History, 1865 to the Present, Lecture Course
History 300: Violence and the History of the US-Mexico Border, Lecture Course
History 301: Historical Methods and Writing, Seminar
History 338A: Modern US Indian Policy, Lecture Course
History 345: Immigration History, Lecture Course
History 346: Western History, Lecture Course
History 347: California History, Lecture Course
History 350: Chicano/a History, Lecture Course
History 430: Social Movements in Modern United States History, Seminar
History 538: North American Borderlands History, Graduate Seminar
History 538: Modern United States History, Graduate Seminar

UNIVERSITY OF CALIFORNIA AT BERKELEY

History 100: Asian American History, Seminar
History 101: Senior Thesis Seminar
History 103: Readings in American Immigration History, Seminar
History 103: American Immigration Law and Policy in Historical Perspective, Seminar
History 103: Landscapes of Migration: Immigration, Ethnicity, and Race in the Twentieth Century, Seminar
History 137AC: American Immigration History from 1492 to the Present, Lecture Course

HARVARD UNIVERSITY

History 74k: American Immigration Law and Policy in Historical Perspective, Seminar
History 84k: Senior Thesis Seminar
History 91r: Transnational Approaches to Mexican Immigration History, Seminar
History 1435: American Legal History from 1492 to the Present, Lecture Course
History 1436: American Immigration History from 1492 to the Present, Lecture Course

CORNELL UNIVERSITY

American Studies: American Immigration Law and Policy in Historical Perspective, Seminar


PROFESSIONAL SERVICE

EDITORIAL BOARDS

Member, Editorial Advisory Board, 2020 – Present
      David J. Weber Series in the New Borderlands History, University of North Carolina Press



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Member, Board of Editors, 2020 – 2021
      Western Historical Quarterly

Member, Editorial Board, 2016-Present
      Western Legal History: The Journal of the Ninth Judicial Circuit Historical Society

Book Review Editor, 2013-2016
        Western Legal History: The Journal of the Ninth Judicial Circuit Historical Society

PROFESSIONAL SOCIETIES

Member, Program Committee, 2021 Annual Meeting, Western History Association, 2020-2021
      Western History Association

Member, Executive Board, April 2019 – Present
      Immigration and Ethnic History Society

Chair, WHA Committee on Assault Response and Educational Strategies, April 2018 – 2021
        Western History Association

Chair, Working Group on Sexual Harassment/Sexual Violence in the Academy, March-April, 2018
        Western History Association

Co-Chair, Local Arrangements Committee, 2016-2017
      2017 Annual Meeting of the Western Historical Association, San Diego, California

PRIZE COMMITTEES

Member, Prize Committee, Theodore Saloutos Book Award, 2021-Present
      Immigration and Ethnic History Society

Member, Prize Committee, Littleton-Griswold Research Grant for US Legal History, 2020 – Present
      American Historical Association

Member, Prize Committee, WHA Graduate Student Prize, 2020 – 2021
      Western History Association

Committee Member, Research Travel Grant in California Legal History, Spring 2019
      California Supreme Court Historical Society

Committee Member, Prize Committee, Jerome I. Braun Prize, 2015
      The Ninth Judicial Circuit Historical Society

Committee Member, Prize Committee, Graduate Student Writing Competition, 2013
      California Supreme Court Historical Society

RESEARCH CENTERS

Member, Scholars Strategy Network, Dallas-Fort Worth, 2021-Present




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External Research Associate, Center for Comparative Immigration Studies, 2020-Present
       University of California at San Diego

Member, Scholars Strategy Network, San Diego, 2018-2020

HISTORY EDUCATION

Member, Advisory Team, Literacy and the Law: K-12 Civics Curricula, 2017-2020
      California State University San Marcos and the Superior Court of San Diego

Adviser, Immigrant Nation, 2013-2014
        Multimedia immigration history website produced by documentary filmmaker Kate McLean.


CAMPUS SERVICE

UNIVERSITY

Chair, Academic Policy Committee, Fall 2018, Fall 2017, Spring 2020
        Academic Senate, California State University San Marcos

Member, University Without Borders Action Group, January 2017 – 2018
      Executive Committee, Academic Senate, California State University San Marcos

Co-Organizer, DACA: Know Your Rights Information Session, January 24, 2017
      College of Humanities, Arts, Behavioral, and Social Sciences, California State University San Marcos

Co-Organizer, DACA/AB540 Teach-In, December 8, 2016
      Office of Diversity, Educational Equity, and Inclusion, California State University San Marcos

Co-Author, California State University San Marcos Faculty Handbook, 2016-2017
      Faculty Center Advisory Committee, California State University San Marcos

Member, Academic Senate, 2016-2017
      California State University San Marcos

Member, 2014-2017
      Academic Policy Committee, California State University San Marcos

Member, 2014-2016
      Faculty Center Advisory Committee, California State University San Marcos

Member, 2014-2016
      Community Engagement Faculty Advisory Committee, California State University San Marcos

Member, 2013-2015
      Library and Academic Technology Committee, California State University San Marcos




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COLLEGE

Member, Visual and Performing Arts Search Committee, Spring 2021
      College of Arts and Humanities, University of Texas at Dallas

Member, Ethnic Studies Development Board, March 2017 – 2019
      College of Humanities, Arts, Behavioral, and Social Sciences, California State University San Marcos

Member, Faculty Development Committee, 2016-2018
      College of Humanities, Arts, Behavioral, and Social Sciences, California State University San Marcos

HISTORY DEPARTMENT

Member, Graduate Program Review Committee, 2021-Present
      Department of History, University of Texas at Dallas

Member, Curriculum Committee, 2020
      Department of History, California State University San Marcos

Member, Graduate Program Committee, 2016-2020
      Department of History, California State University San Marcos

Faculty/Graduate Student Reading Group Founder and Coordinator, 2015-2020
        Department of History, California State University San Marcos

Member, 2013-2016
      Graduate Student Admissions Committee, History Department, California State University San
      Marcos

Member, 2013-2014
      History Department B.A. Assessment Committee, California State University San Marcos

Fundraiser, 2012-2013
       War at Home and Abroad Digital History Archive, California State University San Marcos




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